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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

TRUSTID, INC.,
Plaintiff,
C.A. No. 18-172 (MN)

Vv.

NEXT CALLER INC.,

Defendant.

VERDICT FORM

06

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INSTRUCTIONS

In answering the following questions and filling out this Verdict Form, you are to follow

all of the instructions I have given you in the Court’s charge. Your answer to each question

must be unanimous. Some of the questions contain legal terms that are defined and explained

the meaning or usage of any legal term that appears in the questions below.

in detail in the Jury Instructions. Please refer to the Jury Instructions if you are unsure abou

As used herein:

1. “The 985 patent” refers to U.S. Patent No. 9,001,985;

2. “The *532 patent” refers to U.S. Patent No. 8,238,532; and
3. “The 913 patent” refers to U.S. Patent No. 9,871,913.

“TRUSTID” refers to Plaintiff TRUSTID, Inc. and “Next Caller” refers to Defendant

These three patents are together sometimes referred to as “the patents-in-suit.” |
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Next Caller Inc.

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INFRINGEMENT

QUESTION NO. 1: Did TRUSTID prove by a preponderance of the evidence that Next

Caller directly infringed any of the Asserted Claims of the patents-in-suit listed below?

Yes No
(for TRUSTID) (for Next Caller)

Claim 1 of the ’985 patent vo

Claim 4 of the ’985 patent vO

Claim 10 of the ’985 patent ~

Claim 32 of the ’532 patent i

Claim 48 of the ’532 patent a

Claim 50 of the °532 patent i

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QUESTION NO. 2: Did TRUSTID prove by a preponderance of the evidence that any specific

customer of Next Caller directly infringed any of the Asserted Claims of the ’913 patent listed

below?

Yes No
(for TRUSTID) (for Next Caller)

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a

Claim 1 of the °913 patent
Claim 14 of the ’913 patent

Claim 15 of the ’913 patent

If you answered “Yes” for any patent claim in Question No. 2, you must answer Question Nos.

3-4 for that claim or those claims as well as Question No. 5 for the ’913 patent.

If you answered “Yes” for any patent claim in Question No. 1, you must answer Question No.

5 for that patent or those patents.

If you answered “No” to all portions of Question Nos. 1 and 2, skip Question Nos. 3-5 and

proceed to Question No. 6.

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QUESTION NO. 3: Did TRUSTID prove by a preponderance of the evidence that Next Caller
induced infringement of any of the Asserted Claims of the ’913 patent listed below?

Yes No
(for TRUSTID) (for Next Caller)

Claim 1 of the 913 patent
Claim 14 of the ’913 patent

Claim 15 of the ’913 patent

QUESTION NO. 4: Did TRUSTID prove by a preponderance of the evidence that Next Caller

contributed to the infringement of any of the Asserted Claims of the ’913 patent listed below?

Yes No
(for TRUSTID) (for Next Caller)

Claim 1 of the °913 patent
Claim 14 of the ’913 patent

Claim 15 of the ’913 patent

If you answered “Yes” for any patent claim in Question Nos. 1, 3 or 4, you must answer
Question No. 5 for the patent(s) that that claim or those claims are in. If you answered “No”

to all portions of Question Nos. 1, 3, and 4, skip Question No. 5 and proceed to Question No. 6.

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WILLFUL INFRINGEMENT
QUESTION NO. 5: Did TRUSTID prove by a preponderance of the evidence that Next

Caller’s infringement of the patents-in-suit listed below was willful?

Yes No
(for TRUSTID) (for Next Caller)

The ’985 patent
The °532 patent

The °913 patent

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INVALIDITY

QUESTION NO. 6: Did Next Caller prove by clear and convincing evidence that any of the

following claims of the patents-in-suit are invalid for anticipation based on the prior art you

were instructed to consider?

No Yes
(for TRUSTID) (for Next Caller)

Claim 32 of the ’532 patent

Claim 48 of the ’532 patent

Claim 1 of the ’913 patent

Claim 14 of the ’913 patent

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Claim 50 of the ’532 patent x
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Claim 15 of the ’913 patent

QUESTION NO. 7: Did Next Caller prove by clear and convincing evidence that any of the
following claims of the patents-in-suit are invalid for obviousness based on the prior art you

were instructed to consider?

No Yes
(for TRUSTID) (for Next Caller)

Claim 32 of the ’532 patent
Claim 48 of the ’532 patent

Claim 50 of the 532 patent

Claim 14 of the °913 patent

Claim 1 of the ’913 patent KO ,
X

Claim 15 of the 913 patent
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QUESTION NO. 8: Did Next Caller prove by clear and convincing evidence that, from the
perspective of a person of ordinary skill in the art, the Asserted Claims of the ’985 patent only

involve activities that were well-understood, routine, and conventional as of May 19, 2009?

No Yes
(for TRUSTID) (for Next Caller)
Claim 1 of the ’985 patent
Claim 4 of the ’985 patent 4

Claim 10 of the ’985 patent

QUESTION NO. 9: Did Next Caller prove by clear and convincing evidence that, from the
perspective of a person of ordinary skill in the art, the Asserted Claims of the 532 patent

only involve activities that were well-understood, routine, and conventional as of May 19,

2009?
No Yes
(for TRUSTID) (for Next Caller)
Claim 32 of the 532 patent xm
Claim 48 of the ’532 patent ZO
Claim 50 of the ’532 patent 4

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QUESTION NO. 10: Did Next Caller prove by clear and convincing evidence that, from the
perspective of a person of ordinary skill in the art, the Asserted Claims of the ’913 patent only

involve activities that were well-understood, routine, and conventional as of January 20, 2012?

No Yes
(for TRUSTID) (for Next Caller)
Claim 1 of the ’913 patent ZO
Claim 14 of the ’913 patent <
Claim 15 of the 913 patent i

Ifyou answered “Yes” for any claim or claims in Question Nos. 1, 3 or 4 and you answered
“No” for that claim or those claims in Question Nos. 6 and 7,' you must answer Question Nos.

Il and 12. Otherwise, skip to Question No. 13.

3 Question Nos. 6 and 7 do not apply to the ’985 patent. Therefore, for the purposes of this prompt, you
should assume that the answer to Question Nos. 6 and 7 is “No” for the °985 patent.
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COMPENSATORY DAMAGES FOR PATENT INFRINGEMENT

QUESTION NO. 11: If you determine that TRUSTID is entitled to recover lost profits, wha
amount, if any, is TRUSTID entitled to in the amount of lost profits attributable to the sale of

Next Caller’s infringing services?

Answer: $

QUESTION NO. 12: If you determine that TRUSTID is not entitled to recover lost profits,
what amount, if any, if paid now, would fairly and reasonably compensate TRUSTID as a

reasonable royalty for any infringement you have found?

Answer: $

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FALSE ADVERTISING

QUESTION NO. 13: Did TRUSTID prove by a preponderance of the evidence that Next

Caller is liable for false advertising under the Delaware Deceptive Trade Practices Act for the

following statements?

Yes No
(for TRUSTID) (for Next Caller)

Containment Rate”

“Increase 10% IVR x

“pre-answer”

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QUESTION NO. 14: Did TRUSTID prove by a preponderance of the evidence that Next

Caller is liable for false advertising under the Lanham Act for the following statements?

Yes No
(for TRUSTID) (for Next Caller)
“Increase 10% IVR wm
Containment Rate” Z

“pre-answer”

Ifyou answered “Yes” to Question No. 14 for either statement, you must answer Question Nos.
|
15 and 16. If you answered “No” to Question No. 14 for both statements, skip to the end of,

the verdict sheet (page 12).

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DAMAGES FOR FALSE ADVERTISING

QUESTION NO. 15: What amount, if any, is TRUSTID entitled to recover as damages

attributable to Next Caller’s false advertising?

Answer: $ LY wiilhov

PUNITIVE DAMAGES

QUESTION NO. 16: Did TRUSTID prove by a preponderance of the evidence that Nex(

Caller’s false advertising was willful? :

Yes No
(for TRUSTID) (for Next Caller)

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Ifyou answered “Yes” to Question No. 16 for either statement, you must answer Question No.

17. Ifyou answered “No” to Question No. 16 skip to the end of the verdict sheet (page 12),

QUESTION NO. 17: What amount of punitive damages, if any, do you award TRUSTID for

Next Caller’s false advertising?

Answer: $ MY waillion

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CONCLUSION

You have reached the end of the verdict form. Review the completed form to ensure that
it accurately reflects your unanimous determinations. All jurors should then sign and date the
verdict form in the space below and notify the Court Security Officer that you have reached a

verdict.

Dated: Tlie! v4

